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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

)
UNITED STATES OF AMERICA )
)
Plaintiff, )
) Case No: 21-CR-00399-RDM
Vv. )
)
ROMAN STERLINGOV, )
)
Defendant. )
)
)

DECLARATION OF TAUSEEF S. AHMED
IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

I, Tauseef S. Ahmed, hereby declare:
l. My name, office address, and telephone number are as follows:

Tauseef S. Ahmed, Of Counsel
Tor Ekeland Law, PLLC

30 Wall Street Street, 8" Floor
New York, NY 10005

Tel: 718-737-7264

I have been admitted to the following courts and bars:

New York (9/12/2018) (NY Bar No. 561408)

New Jersey (4/2/2021) (NJ Bar No. 350802021)

U.S. District Court for the Northern District of New York (Bar Roll # 701039) (5/29/2019)
U.S. District Court for the Eastern District of New York (Bar Roll # 5614508) (9/13/2019)
U.S. District Court for the Southern District of New York (Bar Roll # 5614508) (9/13/2019)
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3. Iam currently in good standing with all states, courts, and bars in which I am
admitted.

4, I have not previously been admitted pro hac vice in this Court.

5. I do not have an office located within the District of Columbia.

I declare under penalty of perjury that the foregoing is true and correct. Executed in

Washington, D.C., this 19th day of September, 2023.

Dated this 19th day of September, 2023. Respectfully SoS

Tauseef S. a Of Camel
Tor Ekeland Law, PLLC

30 Wall Street Street, 8°" Floor
New York, NY 10005

Tel: 718-737-7264

